    Fill in this information to identify the case:
    Debtor 1
                    Cheryl Ann Taylor
    Debtor 2
                    Aaron D Taylor
    (Spouse, if filing)

    United States Bankruptcy Court for the:      Middle District of Pennsylvania
                                                                             (State)

    Case number       18-bk-04117-HWV

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: J.P. Morgan Mortgage Acquisition                             Court claim no. (if known): 14
Corp.
                                                                               Date of payment change:                     2-1-2021
                                                                               Must be at least 21 days after date
Last four digits of any number you                    0694                     of this notice
use to identify the debtor's account:



                                                                               New total payment:                          $2420.24
                                                                               Principal, interest, and escrow, if any




    Part 1:         Escrow Account Payment Adjustment

1.       Will there be a change in the debtor's escrow account payment?
          No              Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                          the basis for the change. If a statement is not attached, explain why: ___________________________________________
         Yes
                          _**Amending the Notice of Payment Change filed 12/24/2020.**___________________________________

                          Current escrow payment:        $490.80                         New escrow payment:         $426.65





Part 2:             Mortgage Payment Adjustment
    2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
          debtor's variable-rate note?
         No               Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
           Yes            attached, explain why:
                          ____________________________________________________________________________________________
                          Current Interest Rate: _____%                                New interest rate: _____%
                          Current principal and interest payment:       $                New principal and interest payment:       $

Part 3:             Other Payment Change
    3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
                          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         No
                          agreement. (Court approval may be required before the payment change can take effect)
           Yes
                          Reason for change: ____________________________________________________________________________

                          Current mortgage payment:        $$______                      New mortgage payment:           $______




Official Form 410S1                                          Notice of Mortgage Payment Change                                                    Page 1

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Debtor 1     Cheryl Ann Taylor                                                         Case Number (if known)
                                                                                                                18-bk-04117-HWV
             First Name                Middle Name            Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
  I am the creditor.           
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Chandra M. Arkema                                                           Date   01/04/2021
     Signature


 Print:                   Chandra M. Arkema                               Bar No.: 203437            Title   Bankruptcy Attorney
                          First name         Middle Name      Last name


 Company                  RICHARD M. SQUIRE & ASSOCIATES, LLC

 Address                  115 West Avenue, Suite 104,
                          Number                Street

                          Jenkintown, PA 19046
                          City                  State         Zip Code


 Contact phone            (215) 886-8790             Email:   carkema@squirelaw.com




Official Form 410S1                                           Notice of Mortgage Payment Change                                       Page 2




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                              IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In Re:   Aaron D Taylor and Cheryl Ann Taylor                Chapter: 13

                                                             Bankruptcy No.: 18-bk-04117-HWV
                                     Debtors                 11 U.S.C. § 362



J.P. Morgan Mortgage Acquisition Corp.
                                                   Movant
                            vs.
Aaron D Taylor and Cheryl Ann Taylor
                                                   Debtors
                            and
Charles J. DeHart, III, Esquire (Trustee)
                                                   Trustee
                                         RESPONDENTS


                                            CERTIFICATE OF SERVICE

         I hereby certify that I am over 18 years of age; and that service upon all interested parties, indicated below,
was made by sending true and correct copies of the Notice of Mortgage Payment Change electronically and/or via
First Class Mail, postage prepaid.

Date Served: January 4, 2021

Charles J. DeHart, III, Esquire (Trustee)
Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

Aaron D Taylor
10277 Fish and Game Rd
Waynesboro, PA 17268

Cheryl Ann Taylor
10277 Fish and Game Rd
Waynesboro, PA 17268

John Matthew Hyams
Law Offices of John M. Hyams
2023 N. 2nd St
Harrisburg, PA 17102

         I hereby certify the foregoing to be true and correct under penalty of perjury.

                                                       Respectfully submitted,




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                                    /s/ Chandra M. Arkema
                                   Richard M. Squire, Esq.
                                   M. Troy Freedman, Esq.
                                   Chandra M. Arkema, Esq.
                                   One Jenkintown Station, Suite 104
                                   115 West Avenue
                                   Jenkintown, PA 19046
                                   215-886-8790
                                   215-886-8791 (FAX)
                                   rsquire@squirelaw.com
                                   tfreedman@squirelaw.com
                                   carkema@squirelaw.com




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                                                                                                            ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
                                  Rushmore Loan Management Services                                         TAXES                                           $1,151.16
                                  P.O. Box 55004                                                            HAZARD INS                                      $1,012.00
                                  Irvine, CA 92619                                                          TAXES                                           $2,956.67



                  ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
                  AND CHANGE OF PAYMENT NOTICE PREPARED FOR:

                      Loan Number:
___                   Analysis Date: 11/24/2020
___
                                                                                                            NEW MONTHLY PAYMENT IS AS FOLLOWS:
                                                                                                            Principal and Interest                          $1,920.21
                                                                                                            Required Escrow Payment                           $426.65
                           AARON D TAYLOR                                                                   Shortage/Surplus Spread                            $49.99
                           CHERYL A TAYLOR                                                                                                                       $.00
                                                                                                            Optional Program Payment
___                        10277 FISH AND GAME RD                                                                                                                $.00
                                                                                                            Buydown or Assistance Payments
                           WAYNESBORO PA   17268-8820                                                                                                            $.00
                                                                                                            Other
                                                                                                             TOTAL MONTHLY PAYMENT                         $2,396.85
                                                                                                             NEW PAYMENT EFFECTIVE DATE:                  02/01/2021



                  FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN DISCHARGED IN
                  BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS NOT AN ATTEMPT TO COLLECT A DEBT.
                  PLEASE NOTE THAT EVEN IF YOUR DEBT HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO
                  LONGER PERSONALLY LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAW,
                  PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.

                  Rushmore Loan Management Services has completed an analysis of the escrow account. We have adjusted the mortgage payment to reflect changes
                  in the real estate taxes and/or property insurance. The escrow items to be disbursed from the account are itemized above. If you have questions
                  regarding this analysis, please write to our Customer Service Department at Rushmore Loan Management Services, P.O. Box 55004, Irvine, CA
                  92619, or call toll-free 1-888-504-6700.
                  In the event you utilize a third party to remit your payments, please inform them of the effective date of any change in your payment.

                                                     ANNUAL ESCROW ACCOUNT PROJECTION FOR THE COMING YEAR
                  This is an estimate of activity in the escrow account during the coming year based on payments anticipated to be made from the account.
                                     PAYMENTS TO                                         PAYMENTS FROM                                         ESCROW ACCOUNT
                                   ESCROW ACCOUNT                                        ESCROW ACCOUNT                                             BALANCE
                                                              MIP/PMI         TAXES           FLOOD           HAZ. INS.         SPECIAL     PROJECTED     REQUIRED
                     MONTH
EF0PEQ/NCP/7-20




                     STARTING BALANCE                                                                                                        $933.50           $2133.28
                     FEB   21               $426.65                                                                                         $1360.15           $2559.93
                     MAR   21               $426.65                                                                                         $1786.80           $2986.58
                     APR   21               $426.65                                                                         $1151.16        $1062.29           $2262.07
                     MAY   21               $426.65                                                                                         $1488.94           $2688.72
                     JUN   21               $426.65                                                        $1012.00                          $903.59           $2103.37
                     JUL   21               $426.65                                                                                         $1330.24           $2530.02
                     AUG   21               $426.65                                                                         $2956.67        $1199.78-             $0.00 *
                     SEP   21               $426.65                                                                                          $773.13-           $426.65
                     OCT   21               $426.65                                                                                          $346.48-           $853.30
                     NOV   21               $426.65                                                                                           $80.17           $1279.95
                     DEC   21               $426.65                                                                                          $506.82           $1706.60
                     JAN   22               $426.65                                                                                          $933.47           $2133.25

                   *Indicates a projected low       point   of    $1,199.78-.    Under the mortgage contract, state or federal law, the lowest                   monthly
                   balance should not exceed                 $.00. The difference   between the projected   low point and the amount required                    is $1,199.78-.
                   This is the shortage.




                            Please keep this statement for comparison with the actual activity in your account at the end of the next escrow accounting computation year.


                       IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN THAT YOU
                       ARE ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS WAS CALCULATED
                       BASED ON AN ASSUMPTION THAT THE ACCOUNT IS CURRENT ACCORDING TO THE TERMS OF THE
                       NOTE AND MORTGAGE/DEED OF TRUST. IF THE ACCOUNT IS BEHIND, IN DEFAULT, OR IN
                       BANKRUPTCY, THIS ANALYSIS MAY NOT REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE
                       TERMS OF A BANKRUPTCY PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND
                       THE SURPLUS IS $50 OR GREATER, THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS,
                       PROVIDED THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
                       TRUST.




                  LOAN NUMBER:                                                                                            SHORTAGE AMOUNT:              $1,199.78

                  NAME: AARON D TAYLOR


                  THE TOTAL SHORTAGE OF   $1,199.78 HAS BEEN DIVIDED OVER 24 MONTHS AND     $49.99 WILL AUTOMATICALLY
                  BE ADDED TO THE ESCROW PORTION OF YOUR PAYMENT BEGINNING 02/01/2021.  HOWEVER, IF YOU WISH, YOU MAY
                  REPAY THE ESCROW SHORTAGE IN FULL TO AVOID THE INCREASE TO YOUR MONTHLY PAYMENT.




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   Loan Number:                                                                         Name: AARON D TAYLOR

                     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - ACCOUNT HISTORY
   This is a statement of actual activity in the escrow account from 06/2020       through 01/2021.   Last year's projections    are
   next to the actual activity. The most recent mortgage payment was $2,411.01         of which     $490.80   went to the escrow
   account and the remainder of     $1,920.21      went towards the mortgage loan. An asterisk (*) indicates a difference     between
   a projected   disbursement and actual activity.

                    PROJECTED      ACTUAL               PROJECTED         ACTUAL              DESCRIPTION            PROJECTED           ACTUAL
   MONTH
   STARTING BAL.                                                                                                     $2649.19           $872.71-
    JUN   20       $421.40        $462.12*              $957.00       $1012.00*                HAZARD INS.           $2113.59          $1422.59-
    JUL   20       $421.40        $462.12*                                                                           $2534.99           $960.47-
    AUG   20       $421.40               *            $2956.39        $2956.67*                SCHOOL TAX               $0.00          $3917.14-
    SEP   20       $421.40               *                                                                            $421.40          $3917.14-
    OCT   20       $421.40        $462.12*                                                                            $842.80          $3455.02-
    NOV   20       $421.40       $3406.92*                                                                           $1264.20            $48.10-
    DEC   20       $421.40        $490.80*                                                                           $1685.60           $442.70
    JAN   21       $421.40        $490.80*                                                                           $2107.00           $933.50

   Last year, we anticipated that payments from the escrow       account would be made during this period totaling             $5,056.73.
   The lowest monthly balance should not have exceeded              $.00, the lowest amount required by the mortgage           contract, state
   or federal law.

   OVER THIS PERIOD, AN ADDITIONAL               $.00 WAS     DEPOSITED INTO THE ESCROW ACCOUNT FOR INTEREST ON ESCROW.

   The actual lowest monthly balance was less than              $.00. The items with    an asterisk on the account   history   may
   explain this, if you would like a further explanation,   please call our toll-free   number:    1-888-504-6700.




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KTW GTWWT\JWX NS GFSPWZUYH^ TW GTWWT\JWX \MTXJ IJGY MFX GJJS
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STY FS FYYJRUY YT HTQQJHY F IJGY2 UQJFXJ STYJ YMFY J[JS NK ^TZW IJGY
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QNFGQJ TS YMJ IJGY0 YMJ QJSIJW RF^0 NS FHHTWIFSHJ \NYM FUUQNHFGQJ QF^0
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NK YMNX JXHWT\ FSFQ^XNX NSINHFYJX YMFY YMJWJ NX F XZWUQZX0 NY RF^ STY RJFS
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\FX HFQHZQFYJI GFXJI TS FS FXXZRUYNTS YMFY YMJ FHHTZSY NX HZWWJSY
FHHTWINSL YT YMJ YJWRX TK YMJ STYJ FSI RTWYLFLJ3IJJI TK YWZXY2 NK YMJ
FHHTZSY NX GJMNSI0 NS IJKFZQY0 TW NS GFSPWZUYH^0 YMNX FSFQ^XNX RF^ STY
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